AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT nutaren
for the 2 led

Eastern District of Virginia

CLERK, U.S. DISTRICT COURT
NORFOLK, VA

United States of America )
V. )

) Case No. 2:24-mj- O\\
BRAD KENNETH SPAFFORD )
)
)
= )

Defendant(s)
CRIMINAL COMPLAINT
[, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)of = October 19, 2024 in the county of Isle of Wight __ in the
Eastern _ District of | Virginia , the defendant(s) violated:
Code Section Offense Description
26 U.S.C. § 5861(d) Possession of a Firearm in Violation of the National Firearms Act

This criminal complaint is based on these facts:

See attached affidavit.

(J Continued on the attached sheet.

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Reviewed by AUSA/SAUSA: Oo Complainant's signature
/s/ E. Rebecca Gantt Rachelann Cardwell, TFO, FBI

Printed name and title

Sworn to before me and signed in my presence.

Date, 12/40/2024 LI FE. Ora

Judge's signature

City and state: Norfolk, Virginia Hon. U.S. Magistrate Judge Robert J. Krask

Printed name and title
